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              ANDERSON EXHIBIT 17
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                          Cardinal Health, Inc (Neil Warren)
0001
 1                  UNITED STATES DISTRICT COURT
 2                   DISTRICT OF MASSACHUSETTS
 3   - - - - - - - - - - - - - - - -
 4   IN RE: PHARMACEUTICAL           ) MDL NO. 1456
 5   INDUSTRY AVERAGE WHOLESALE      ) CIVIL ACTION
 6   PRICE LITIGATION                ) 01-CV-12257-PBS
 7                                   )
 8   THIS DOCUMENT RELATES TO THE    )
 9   Consolidated New York County    )
10   Actions, The California Action,)
11   and The Iowa Action             )
12   - - - - - - - - - - - - - - - -
13
14      (cross captions appear on following pages)
15
16          "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY"
17      VIDEOTAPED DEPOSITION OF CARDINAL HEALTH, INC.
18                  by NEIL WARREN - VOLUME I
19                 Tuesday, September 9, 2008
20                    Columbus, Ohio 43215
21                      SUSAN L. COOTS
22              REGISTERED PROFESSIONAL REPORTER
0002
 1                 COMMONWEALTH OF KENTUCKY
 2             FRANKLIN CIRCUIT COURT - DIV. I
 3   - - - - - - - - - - - - - - - - - -
 4   COMMONWEALTH OF KENTUCKY, ex rel. )
 5   GREGORY D. STUMBO, ATTORNEY GENERAL)
 6                 Plaintiff,            ) Civil Action
 7      vs.                              ) No. 04-CI-1487
 8   ALPHARMA USPD, INC., et al.,        )
 9                 Defendants.           )
10   - - - - - - - - - - - - - - - - - -
11
12
13                 COMMONWEALTH OF KENTUCKY
14             FRANKLIN CIRCUIT COURT - DIV. II
15   - - - - - - - - - - - - - - - - - -
16   COMMONWEALTH OF KENTUCKY,           )
17               Plaintiff,              ) Civil Action
18      vs.                              ) No. 03-CI-1134
19   ABBOTT LABORATORIES, INC.,          )
20               Defendants.             )
21   - - - - - - - - - - - - - - - - - -
22
0003
 1                 COMMONWEALTH OF KENTUCKY
 2             FRANKLIN CIRCUIT COURT - DIV. II
 3   - - - - - - - - - - - - - - - - - -
 4   COMMONWEALTH OF KENTUCKY, ex rel. )
 5   GREGORY D. STUMBO, ATTORNEY GENERAL)
 6                Plaintiff,             ) Civil Action
 7      vs.                              ) No. 03-CI-1135
 8   WARRICK PHARMACEUTICALS CORP.,      )
 9   et al.,                             )
10                Defendants.            )
11   - - - - - - - - - - - - - - - - - -
12
13   IN THE CHANCERY COURT OF HINDS COUNTY, MISSISSIPPI
14                    FIRST JUDICIAL DISTRICT
15   - - - - - - - - - - - - - - -
16   STATE OF MISSISSIPPI,         )
                                        Page 1
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                         Cardinal Health, Inc (Neil Warren)
20        Q.   Are you familiar with that term;
21   contract net sell?
22        A.   There -- yes.
0286
 1        Q.   What does that mean?
 2        A.   The contract net sell would be a
 3   contract price and no upcharge, no down charge.
 4        Q.   Contract price between whom and whom?
 5        A.   Between the manufacturer and the
 6   customer or even Cardinal and the customer that
 7   there's no upcharge involved, or down charge.
 8   Depending on how you want to look at it.
 9        Q.   So in that -- in that context, the --
10   the contract net sell price would be the
11   pharmacy's acquisition price, correct?
12        A.   Correct.
13        Q.   Let's take a look at Exhibit No. 2.
14   It's the Leader Drug Store Advantage Manual. And
15   just for the record, this is a business record of
16   Cardinal's that is it came from Cardinal's
17   business records and was maintained in the
18   ordinary course of Cardinal's business; is that
19   correct?
20        A.   Yes.
21        Q.   And among other things, this is
22   providing certain information to certain of
0287
 1   Cardinal's retail pharmacy customers about
 2   pricing for certain brand name drugs; is that
 3   correct?
 4        A.   Yes.
 5        Q.   Okay. So if you could turn to the page
 6   that has the Bates stamp in the lower -- in the
 7   middle of 616187. Are you there? This is the
 8   one --
 9        A.   87. I'm sorry.
10        Q.   616187. This is the one with the page
11   that indicates the manufacturer is Abbott
12   Laboratories and shows a savings of up to 42
13   percent off invoice. Do you see that?
14        A.   Yes.
15        Q.   With the effective date of July 1st,
16   1997, through June 30th, 2001. Do you see that?
17        A.   Yes.
18        Q.   Now, I want to call your attention to
19   the -- the two tables at the bottom, under the
20   heading of Ery-tab, that is E-R-Y, dash tab,
21   profit Analysis Versus Competitive Item. And you
22   see there's a term there that says contract net
0288
 1   sell under the preferred product for the Abbott
 2   product; 333 milligrams tablet. Do you see that?
 3        A.   Yes.
 4        Q.   And I think you testified a moment ago
 5   contract net sell is going to be the price paid
 6   by the Cardinal customer who avails itself of
 7   this particular product in this deal, correct?
 8        A.   Correct.
 9        Q.   And then to the left it says, "AWP,
10   less 12 percent." Do you see that?
11        A.   Yes.
12        Q.   And do you understand that to be an
13   example of a formula for reimbursement that the
                                      Page 105
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                         Cardinal Health, Inc (Neil Warren)
14   Cardinal customer might receive if it dispenses
15   this drug? It's one we talked about, the various
16   types of formulas that could be used. But do you
17   recognize this as a sample of such a formula?
18             MS. HANSEN: Object to form.
19             MS. FUMERTON: Objection. Form.
20        A.   I don't know.
21        Q.   Okay. Well, you will agree with me --
22             THE NOTARY: Who -- I'm sorry. Excuse
0289
 1   me. Who objected?
 2             MS. FUMERTON: Tara Fumerton.
 3             THE NOTARY: I'm sorry?
 4             MS. FUMERTON: Tara Fumerton. F-U-M-E-
 5   R-T-O-N.
 6        Q.   Well, you will agree with me that the
 7   far right column says, "Profit Per Unit," and in
 8   this example it says $20.46. Do you see that?
 9        A.   I see that. Yes.
10        Q.   And do you see -- I have a calculator,
11   if you would like to use it, but that that $20.46
12   is the difference between the AWP, less 12
13   percent of $31.66 and the contract net sell of
14   $11.20. Would you like a calculator?
15        A.   No. I got -- I got that one.
16        Q.   You agree with me? You agree with me?
17        A.   I do.
18        Q.   Okay. And we talked about earlier that
19   profit for a pharmacy customer of -- of Cardinal
20   is the function of its acquisition cost, which I
21   think we said is the contract net sell, and the
22   amount of reimbursement it might receive; is that
0290
 1   correct?
 2        A.   Yes.
 3        Q.   So would you agree with me this is one
 4   example of the profit that a customer -- customer
 5   might earn if it were to purchase this particular
 6   product, and it represents that profit as the
 7   difference between AWP, minus 12 percent, and the
 8   contract net sell price?
 9             MR. STEPHENS: Objection.
10             MS. FUMERTON: Objection.
11             MR. STEPHENS: He already said he
12   didn't agree with you. Asked and answered.
13        A.   I understand the difference to get the
14   $20.46, but I don't know what the AWP less 12
15   represents.
16        Q.   Okay. Good enough. And then it has
17   the competing product underneath it, and that is
18   an E-Mycin 333 milligram tablet. Are you
19   familiar with that product, by the way?
20        A.   Excuse me?
21        Q.   Are you familiar with that product?
22        A.   Yes.
0291
 1        Q.   Is that -- and that's manufactured by a
 2   different company other than Abbott, correct?
 3        A.   Yes.
 4        Q.   Okay. And again, this table is
 5   analyzing the profit between the Abbott preferred
 6   product and the competing product of E-Mycin,
 7   correct?
                                      Page 106
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                          Cardinal Health, Inc (Neil Warren)
 8         A.   Yes.
 9         Q.   Okay. And it shows a profit per unit
10   for the competing product of $15.13. Do you see
11   that?
12         A.   Yes.
13         Q.   And do you recognize that as the
14   difference -- as the between the AWP less 12
15   percent column of $44.75 and the net sell price
16   of $29.62?
17         A.   Yes.
18         Q.   So am I correct that the -- the purpose
19   of this particular table is to show a potential
20   Cardinal customer that it could earn more profit
21   on the Abbott product than it could on the
22   competitor product made by a manufacturer other
0292
 1   than Abbott?
 2              MS. HANSEN: Objection to form.
 3         A.   That would be true.
 4         Q.   Okay. And this entire document, this
 5   Advantage manual is used as part of the -- the
 6   marketing of this particular product to
 7   Cardinal's customers, correct?
 8         A.   Correct.
 9         Q.   And I think you testified in response
10   to Mr. Carroll's questions that the items
11   contained in this document, particularly this
12   analysis, this profit analysis, is something
13   that's discussed with the manufacturer, in this
14   case; Abbott, correct?
15              MS. HANSEN: Objection to form.
16         A.   Correct.
17         Q.   So Abbott is certainly aware that
18   Cardinal has announced to its customers that,
19   under this particular deal, it can make more
20   profit with the Abbott product as compared to the
21   competitor product to Abbott, correct?
22              MS. HANSEN: Objection. Form.
0293
 1              MS. FUMERTON: Objection. (Inaudible.)
 2              THE NOTARY: I'm sorry. Could you
 3   repeat, please?
 4              MS. FUMERTON: This is Tara Fumerton.
 5   Objection. Can't speak to Abbott's awareness.
 6              THE NOTARY: I can't understand you.
 7   I'm sorry.
 8              MS. HANSEN: Want to try one more time?
 9              THE NOTARY: You're breaking up when
10   you objected.
11              MR. CUTLER: I think she said,
12   objection. Can't speak to Abbott's awareness.
13              THE NOTARY: And who is speaking now?
14              MR. CUTLER: Richard Cutler.
15              THE NOTARY: I'm sorry?
16              MS. HANSEN: Rich Cutler.
17              MR. CUTLER: Richard Cutler.
18              THE NOTARY: Okay. You guys are
19   breaking up.
20         Q.   So let me repeat the question then. As
21   to this particular offer and this particular
22   analysis that's being provided by Cardinal to its
0294
 1   potential retail pharmacy customers, Abbott
                                       Page 107
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                         Cardinal Health, Inc (Neil Warren)
 2   certainly is aware that Cardinal is providing
 3   this profit analysis that compares the profit for
 4   the Abbott product with the profit on the
 5   competitor product, correct?
 6             MS. HANSEN: Objection. Form. Lack of
 7   foundation.
 8         A.  Correct.
 9         Q.  And beyond just knowing this, Abbott
10   wants Cardinal to provide this profit analysis to
11   potential customers, doesn't it?
12             MS. HANSEN: Same objection.
13             MS. FUMERTON: Same objection.
14         A.  Yes.
15         Q.  And it's communicated that desire to
16   Cardinal at some point?
17         A.  Yes.
18         Q.  And is that true -- I'll go through
19   some other examples, but is that true with regard
20   to the other profit analysis tables that are in
21   this document, Exhibit 3 (sic) for other
22   manufacturers? And if you want to go page by
0295
 1   page, I'm happy to do that.
 2             In fact, why don't we do that, just for
 3   the record. Why don't you turn to the Bates page
 4   numbered 616195. This is the page with Forest
 5   Pharmaceuticals, up to 12 percent rebate on
 6   Tiazac. Am I pronouncing that correctly?
 7         A.  Tiazac.
 8         Q.  Tiazac. And this is the offer from
 9   January 1 to December 31st of 1999. Do you see
10   that?
11         A.  Yes.
12         Q.  And I won't go through it specifically,
13   but the same type of analysis is done here
14   showing the difference in profit on the Forest
15   Tiazac product as compared to the profit for the
16   competing product, the Cardizem CD capsule. Do
17   you see that?
18         A.  Yes.
19         Q.  And it shows a potential profit of
20   $18.95 on the Forest product, as compared to
21   $5.37 profit on the competing product, correct?
22         A.  Correct.
0296
 1         Q.  And it goes through the same analysis,
 2   that is the profit's derived by taking AWP, minus
 3   12 percent, and subtracting the contract net sell
 4   for both the Forest product and the competing
 5   product, correct?
 6         A.  Correct.
 7         Q.  The same is true for the next one, two,
 8   three pages; that is, pages 61696, 97, 98.
 9   Similar analyses are done for other Forest
10   products, correct?
11         A.  Correct.
12         Q.  And as with the Abbott example, this
13   profit analysis that Cardinal is providing to its
14   potential customers is being done at the request
15   of Forest, correct?
16             MS. HANSEN: Objection to form.
17         A.  Correct.
18         Q.  Let's continue through the document.
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